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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

        UNITED STATES OF AMERICA,                       )
                                                        )
                Plaintiff,                              )
                                                        )
        v.                                              )      Case No. 7:23-cv-00318-RSB
                                                        )
        A & G COAL CORP., et al.,                       )
                                                        )
                Defendants.                             )
                                                        )

                UNITED STATES’ MOTION FOR SUMMARY JUDGMENT

        The United States sued thirteen companies and James C. Justice, III for unpaid debts

 resulting from the Defendants’ persistent violations of the Surface Mining Control and

 Reclamation Act of 1977 (“SMCRA”), SMCRA’s regulations, and SMCRA mining permits

 between 2018 and 2022, and for failure to pay abandoned mine land (“AML”) reclamation fees

 for coal mined between 2016 and 2022. On November 22, 2023, the Court entered judgment

 against Defendants on the claim seeking to recover unpaid AML fees (Count III of the

 Complaint). ECF No. 31. The United States now moves for summary judgment on the two

 remaining claims.

        As set forth in the accompanying memorandum in support, there is no genuine dispute of

 material fact that Defendants owe the penalties alleged in Counts I and II of the Complaint.

 Defendants’ Answer and discovery responses, and the United States’ undisputed documentary

 evidence, demonstrate they owe the penalties sought. Defendants nonetheless attempt to avoid

 payment, asserting three affirmative defenses: insufficient notice and service, the statute of

 limitations, and the Eighth Amendment’s Excessive Fines Clause. Each of these defenses fails




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 as a matter of law, and summary judgment should be entered in the United States’ favor on

 Counts I and II of the Complaint.



        Respectfully submitted this 8th day of December, 2023,

                                             TODD KIM
                                             Assistant Attorney General
                                             Environment & Natural Resources Division

                                             /s/ Michael K. Robertson
                                             Michael K. Robertson (DC Bar No. 1017183)
                                             Clare Boronow (Barred in Maryland)
                                             U.S. Department of Justice
                                             Environment & Natural Resources Division
                                             Natural Resources Section
                                             P.O. Box 7611
                                             Washington, D.C. 20044
                                             Tel.: (202) 305-9609
                                             Fax: (202) 305-0275
                                             michael.robertson@usdoj.gov
                                             clare.boronow@usdoj.gov

                                             CHRISTOPHER R. KAVANAUGH
                                             United States Attorney

                                             /s/ Krista Consiglio Frith
                                             Assistant United States Attorney
                                             Virginia Bar No. 89088
                                             United States Attorney’s Office
                                             P.O. Box 1709
                                             Roanoke, VA 24008
                                             TEL (540) 857-2250
                                             FAX (540) 857-2614
                                             Email: krista.frith@usdoj.gov




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on December 8, 2023, I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF System, which will send notice, and constitute service, of

 such filing to all counsel of record.

                                              /s/ Krista Consiglio Frith
                                              Krista Consiglio Frith
                                              Assistant United States Attorney




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